Case 0:18-cv-60995-KMM Document 29 Entered on FLSD Docket 12/17/2018 Page 1 of 8



                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                              Case No. 0:18-cv-60995-KMM

  ZACHARY PAUL CRUZ,

                Plaintiff,

  v.

  CAPTAIN SHEREA GREEN et al.,

              Defendants.
  ________________________________________________/

       ORDER ON DEFENDANT KIM THERESA MOLLICA’S MOTION TO DISMISS

         THIS CAUSE came before the Court upon Defendant Judge Kim Theresa Mollica’s

  (“Judge Mollica”) Motion to Dismiss (“Motion”) (ECF No. 16) four counts of Plaintiff Zachary

  Paul Cruz’s (“Plaintiff”) Complaint (“Compl.”) (ECF No. 1). 1        Plaintiff filed a response

  (“Response”) (ECF No. 22) and Judge Mollica replied (“Reply”) (ECF No. 23). The matter is

  now ripe for review.

  I.     BACKGROUND 2

         Plaintiff is an 18–year–old former student at Marjory Stoneman Douglas High School

  (“Stoneman Douglas”) in Parkland, Florida and brother of Nicholas Cruz. Compl. ¶¶ 10–11. On

  February 14, 2018, Nicholas Cruz allegedly murdered 17 Stoneman Douglas students and injured

  many others. Id. On March 19, 2018, after students had been dismissed for the day, Plaintiff

  skateboarded onto the grounds of Stoneman Douglas. Id. ¶¶ 12–13. While on school grounds,



  1
    Plaintiff brings the instant action against multiple Defendants, including Judge Mollica. This
  Order addresses only the arguments raised in Judge Mollica’s Motion to Dismiss.
  2
     The following facts are taken from the Complaint and accepted as true for the purpose of
  ruling on this Motion. Fernandez v. Tricam Indus., Inc., No. 09-cv-22089, 2009 WL 10668267,
  at *1 (S.D. Fla. Oct. 21, 2009).
Case 0:18-cv-60995-KMM Document 29 Entered on FLSD Docket 12/17/2018 Page 2 of 8



  Plaintiff did not make threats, approach anyone, or otherwise behave in an odd manner. Id. ¶ 12.

  Nor did he use any kind of force to enter school premises. Id. ¶ 13.

         An unnamed Deputy from the Broward County Sheriff’s Office (“BCSO”) approached

  and stopped Plaintiff while he was skateboarding.       Id. ¶ 15.      Once stopped, Plaintiff was

  cooperative, did not flee nor resist, and freely answered the Deputy’s questions. 3 Id. Plaintiff

  provided the Deputy with Plaintiff’s name, telephone number, and information regarding his

  employment and living situation. Id. ¶ 16. When asked why Plaintiff was on school grounds,

  Plaintiff replied that he was “trying to soak it all in.” Id. Upon learning Plaintiff’s identity,

  Plaintiff was arrested for trespassing and booked into custody at the Broward County Main Jail

  (the “Main Jail”). Id. ¶ 17.

         Plaintiff’s bond on his misdemeanor trespass charge was initially set at $25, which was

  paid at 9:54 p.m., while Plaintiff was booked at the Main Jail. Id. ¶ 19. After paying his bond,

  Plaintiff attempted to depart, but Main Jail staff refused to release him. Id. ¶ 21. At 11:00 p.m.,

  a medical report written by Gale Kite, an advanced registered nurse practitioner, stated that Cruz

  had no telephone, car, or responsible transportation, and that he was “at risk of being released to

  the streets, and has the entire community at unease.” Id. ¶ 19.

         The following day, Plaintiff appeared before Judge Mollica for a bond hearing. Id. ¶ 22.

  At the hearing, the State of Florida requested that bond be set at $750,000, arguing that Plaintiff

  should, among other things: not be permitted to return to Broward County; have his home

  searched prior to Plaintiff’s release; be barred from all school property; and be on house arrest

  and subject to GPS tracking. Id. The State claimed that these remedies were necessary because

  “of the fear that [Plaintiff’s] presence invokes because of his family relationship,” and asked


  3
    Plaintiff alleges to have video footage of the arrest, which shows him behaving calmly and not
  erratically or bizarrely. Id. ¶ 24.
                                                   2
Case 0:18-cv-60995-KMM Document 29 Entered on FLSD Docket 12/17/2018 Page 3 of 8



  Judge Mollica to “use every means available to ensure that ‘students can attend school without

  fear.’” Id.

         Judge Mollica set bond at $500,000, noting that Plaintiff is the brother of Nicholas Cruz

  and that Stoneman Douglas students deserved to feel safe, especially following a grave tragedy.

  Id. ¶ 23. Judge Mollica then granted the State’s request to search Plaintiff’s home, bar Plaintiff

  from entering Broward County or coming within one mile of Stoneman Douglas, and to have no

  contact with his brother or any Stoneman Douglas student. Id.

         Unable to make bail, Plaintiff remained in custody until being involuntarily committed,

  under the Baker Act, Fla. Stat. 394.467 (2016), to the Broward Health Medical Center (the

  “Health Center”), where Plaintiff spent five days undergoing repeated mental health evaluations

  and was placed on 24–hour watch. Id. ¶¶ 24–25. Doctors at the Medical Center found Plaintiff

  to be pleasant, cooperative, and alert, and found no signs of depression or suicidal or homicidal

  behavior. Id. ¶ 25.

         After being released from the Medical Center and returned to the Main Jail, Plaintiff’s

  treatment “became immediately harsher.” Id. ¶ 27. Plaintiff was placed in the infirmary on 24–

  hour lockdown, allowed to leave his cell only for visits with his attorney or daily nurse. Id.

  Plaintiff was also placed in a suicide vest, a heavy restraint that limited his movement, for 24

  hours a day, which was only removed following Plaintiff’s execution of a plea deal with the

  State. Id. ¶ 28. Plaintiff also suffered sleep deprivation caused by lighting not being dimmed at

  night and harassment by the jail nurse and attending guard regarding Plaintiff’s mental health.

  Id. ¶¶ 28, 30

         After spending ten days in custody, five of which were in a cell under constant lighting

  and in a heavy suicide vest, Plaintiff agreed to a plea deal with the State, which required him to

  (i) undergo another mental health evaluation; (ii) serve 6 months’ probation; (iii) not come
                                                  3
Case 0:18-cv-60995-KMM Document 29 Entered on FLSD Docket 12/17/2018 Page 4 of 8



  within one mile of Stoneman Douglas; (iv) not possess firearms or weapons; (v) not possess

  alcohol or drugs; (vi) not set foot on any school campus on which he is not enrolled; (vii) not

  visit or have any contact with any Stoneman Douglas student; and (viii) not to have any contact

  with his brother. Id. ¶ 32.

           Plaintiff claims that the plea agreement is unconscionable because it was allegedly

  obtained through coercion and abusive treatment from Main Jail staff. Id. ¶ 36. Plaintiff states

  that he would have challenged his arrest at trial, or at least negotiated for a better plea, had he not

  been subject to such treatment. Id.

           On May 3, 2018, Plaintiff filed the Complaint under 42 U.S.C. § 1983 against multiple

  Defendants, including Judge Mollica.        See generally Compl.       In Count IV, Plaintiff seeks

  declaratory and injunctive relief against Judge Mollica for the (i) allegedly excessive bail amount

  imposed on Plaintiff and (ii) various bail conditions imposed on Plaintiff that allegedly were not

  rationally related to any legitimate public safety concern. Id. ¶¶ 53–54. 4 In Count V, Plaintiff

  seeks his plea agreement with the State to be declared “null and void” because it was obtained

  through unconscionable means. Id. ¶ 58. In Count VI, Plaintiff seeks to void the terms of his

  probation because they, too, are allegedly unconscionable. Id. ¶ 61. Finally, in Count IX,

  Plaintiff seeks attorney’s fees against all Defendants in this cause, including Judge Mollica. Id.

  at 23.

           Judge Mollica moves to dismiss the above counts on various grounds, including lack of

  Article III standing, mootness, Eleventh Amendment Immunity, judicial immunity, the Rooker-




  4
     Although Count IV of the Complaint states that Judge Mollica is being sued in an individual
  capacity, Plaintiff “readily concedes that it was clearly a clerical error to title claims against
  [Judge Mollica] . . . in her individual capacity.” Response at 2 n. 1. Accordingly, the Court will
  interpret Count IV as being asserted against Judge Mollica in Judge Mollica’s official capacity.
                                                    4
Case 0:18-cv-60995-KMM Document 29 Entered on FLSD Docket 12/17/2018 Page 5 of 8



  Feldman doctrine, and Fed R. Civ. P. 12(b)(6). 5 Motion at 2. Plaintiff argues that none of the

  above–listed hurdles deprive Plaintiff’s claims for declaratory and injunctive relief from

  proceeding. Response at 2–19.

  II.    STANDARDS OF REVIEW

         To survive a motion to dismiss brought pursuant to Federal Rule of Civil Procedure

  12(b)(6), a claim “must contain sufficient factual matter, accepted as true, to ‘state a claim to

  relief that is plausible on its face,’” meaning that it must contain “factual content that allows the

  court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

  Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal citation omitted). While a court must

  accept well-pleaded factual allegations as true, “conclusory allegations . . . are not entitled to an

  assumption of truth—legal conclusions must be supported by factual allegations.” Randall v.

  Scott, 610 F.3d 701, 709-10 (11th Cir. 2010). “[T]he pleadings are construed broadly,” and the

  allegations in the complaint are viewed in the light most favorable to the plaintiff. Levine v.

  World Fin. Network Nat’l Bank, 437 F.3d 1118, 1120 (11th Cir. 2006); Bishop v. Ross Earle &

  Bonan, P.A., 817 F.3d 1268, 1270 (11th Cir. 2016).

         The Rooker–Feldman doctrine “is a jurisdictional rule that precludes the lower federal

  courts from reviewing state court judgments.” Alvarez v. Attorney Gen. for Fla., 679 F.3d 1257,

  1262 (11th Cir. 2012). This doctrine “is confirmed to cases . . . brought by state–court losers

  complaining of injuries cause by state–court judgments rendered before the district court

  proceedings commenced and inviting district court review and rejection of those judgments.” Id

  (internal citation omitted). The Rooker–Feldman doctrine deprives federal courts of jurisdiction

  where the issue before the federal court is “inextricably intertwined” with the state court

  5
    For the purposes of this Motion, and for the reasons that follow, the Court need only address
  Judge Mollica’s arguments relating to the Rooker–Feldman doctrine and Fed. R. Civ. P.
  12(b)(6).
                                                 5
Case 0:18-cv-60995-KMM Document 29 Entered on FLSD Docket 12/17/2018 Page 6 of 8



  judgment so that “(1) the success of the federal claim would ‘effectively nullify’ the state court

  judgment, or that (2) the federal claim would succeed ‘only to the extent that the state court

  wrongly decided the issues.” Id. at 1263 (internal citation omitted). A plaintiff “may not seek

  reversal of a state court judgment simply by recasting his complaint in the form of a civil rights

  action.” Hagerty v. Succession of Clement, 749 F.2d 217, 220 (5th Cir. 1984). “[A] federal

  district court may not review a state court judgment even upon a claim that that judgment

  violates the United States Constitution. The remedy for such a violation is an appeal to the state

  appellate courts, whose decision may be reviewed by the United States Supreme Court.”

  Claughton v. Donner, 771 F. Supp. 1200, 1204 (S.D. Fla. 1991).

  III.   DISCUSSION

         Judge Mollica argues that Plaintiff’s claims for injunctive and declaratory relief are

  barred by the Rooker–Feldman doctrine because Plaintiff requests a federal district court to

  nullify a state court judgment. Motion at 12–15. Judge Mollica further contends that Plaintiff’s

  claims relating to his plea agreement and probation conditions fail to state a claim because Judge

  Mollica did not sentence Plaintiff nor had any part in drafting or negotiating the plea agreement.

  Id. at 19–21. In response, Plaintiff argues that as a result of the allegedly excessive bail imposed

  by Judge Mollica, Plaintiff was subjected to various Eighth Amendment violations caused by the

  other Defendants in this action. Response at 9. Plaintiff also claims that the terms of the plea

  agreement and probation, which stem from Judge Mollica’s allegedly excessive bail

  determination, are unconscionable and should thus be declared void. Compl. ¶¶ 58, 61.

         In Count IV, Plaintiff claims that Judge Mollica’s judgment under Florida state law to set

  Plaintiff’s bail amount at $500,000 and impose various bail conditions on Plaintiff violated

  Plaintiff’s Eighth Amendment right against excessive bail. Compl. ¶¶ 53–54; Response at 9;

  U.S. Const. amend. VIII. Plaintiff further argues that no state court has made a ruling on his
                                                   6
Case 0:18-cv-60995-KMM Document 29 Entered on FLSD Docket 12/17/2018 Page 7 of 8



  Eighth Amendment claim, so the federalism principles at the heart of the Rooker–Feldman

  doctrine are not implicated by the instant action.       Response at 9.      Federal district courts,

  however, lack jurisdiction to review a state court’s judgment, “even upon a claim that that

  judgment violated the United States Constitution.” Donner, 771 F. Supp. at 1204; Staley v.

  Ledbetter, 837 F.2d 1016, 1017–1018 (11th Cir. 1988) (“Federal courts are not a forum for

  appealing state court decisions.”). 6 The Rooker–Feldman doctrine therefore bars this Court from

  entertaining Plaintiff’s constitutional challenge, “recast as a civil rights action,” of a state court

  judgment. See Hagerty, 749 F.2d at 220. The Court thus grants Judge Mollica’s motion to

  dismiss Count IV of the Complaint for lack of jurisdiction.

         Next, Plaintiff all but concedes that Counts V and VI, which seek a declaration from the

  Court that Plaintiff’s plea agreement and terms of probation are “null and void,” have almost

  nothing to do with Judge Mollica, who took no part in sentencing Plaintiff or crafting the terms

  of the plea agreement.      Response at 18 (“[Judge] Mollica’s only connection to the plea

  agreement is that it constitutes a continuing harm suffered by the Plaintiff as a result of the

  excessive bond. As such, Plaintiff makes no claim against Judge Mollica for declaratory relief as

  to the plea . . .”). To survive a motion to dismiss brought pursuant to Federal Rule of Civil

  Procedure 12(b)(6), a claim “must contain sufficient factual matter, accepted as true, to ‘state a

  claim to relief that is plausible on its face,’” meaning that it must contain “factual content that

  6
     Plaintiff argues that he waived his right to appeal Judge Mollica’s bond determinations when
  he entered into his plea agreement with the State, and as such has no recourse to seek relief from
  a higher state court. Response at 18. However, Plaintiff could have moved for Judge Mollica to
  reconsider the judgment pursuant to Fl. R. Crim. Pro. § 3.131(d), appealed the judgment to a
  higher appellate court during the ten days that passed in between Judge Mollica’s bond
  judgments and his execution of the plea agreement, or filed a habeas petition to review the
  judgment. Moreover, even if the above–mentioned remedies are not presently available to
  Plaintiff, “the fact that they were previously available would preclude a finding that the plaintiff
  lacks an adequate remedy at law. . .” Drees v. Ferguson, 2:09-CV-401-JEO, 2009 WL
  10694962, at *9 (N.D. Ala. May 6, 2009), report and recommendation adopted, 2:09-CV-00401-
  LSC, 2009 WL 10694961 (N.D. Ala. Sept. 9, 2009), aff’d, 396 F. App’x 656 (11th Cir. 2010).
                                                    7
Case 0:18-cv-60995-KMM Document 29 Entered on FLSD Docket 12/17/2018 Page 8 of 8



  allows the court to draw the reasonable inference that the defendant is liable for the misconduct

  alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal citation omitted). Plaintiff has

  not pled with sufficient plausibility any connection between Judge Mollica’s bail determination

  and either the allegedly unconscionable terms of the plea agreement or the terms of Plaintiff’s

  probation that would result in any kind of liability for Judge Mollica. Plaintiff’s claims against

  Judge Mollica under Counts V and VI, in other words, do not “allow the court to draw the

  reasonable inference that” Judge Mollica is liable for the allegedly unconscionable terms of the

  plea agreement and probation at issue. 7 See id. The Court therefore grants Judge Mollica’s

  motion to dismiss Counts V and VI of the Complaint pursuant to Fed. R. Civ. P. 12(b)(6). 8

  IV.     CONCLUSION

          Accordingly, UPON CONSDIERATION of the Motion, the pertinent portions of the

  record, and being otherwise fully advised in the premises, Judge Mollica’s Motion to Dismiss

  (ECF No. 16) Counts IV, V, VI, and IX of the Complaint is hereby GRANTED. The Clerk of

  Court is instructed to REMOVE Judge Kim Theresa Mollica as a Defendant in this matter.

          DONE AND ORDERED in Chambers at Miami, Florida, this ____
                                                               17th day of December,

  2018.


                                                                           Digitally signed by K. Michael Moore

                                                K. Michael Moore
                                                                           DN: cn=K. Michael Moore, o=Southern District of
                                                                           Florida, ou=United States District Court,
                                                                           email=k_michael_moore@flsd.uscourt.gov, c=US
                                                                           Date: 2018.12.17 12:08:43 -05'00'


                                                  K. MICHAEL MOORE
                                                  UNITED STATES CHIEF DISTRICT JUDGE

  7
     To the extent that Plaintiff seeks to declare “null and void” the state court’s incorporation of
  the terms of the plea agreement and probation within its judgment of conviction, that remedy is
  plainly barred by Rooker–Feldman. Alvarez, 679 F.3d at 1263 (depriving the district court of
  jurisdiction where “the success of the federal claim would ‘effectively nullify’ the state court
  judgment.”).
  8
     Because the Court has dismissed Counts IV, V, and VI against Judge Mollica, the sole
  remaining count against Judge Mollica –Count IX for attorney’s fees–is also dismissed.
                                                8
